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JENKINS LAW FIRM

Case 3:16-cv-00144-MMD-VPC Document9 Filed 03/24/16 Page 1of3

NATHAN M. JENKINS (560)

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Attorneys for Defendant Northern Nevada Operating
Engineers Health & Welfare Trust Fund

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEVADA

GOLIGHTLY & VANNAH, PLLC, Case No. 3:16-cv-00144-MMD-VPC
Plaintiff,
vs. CERTIFICATE OF SERVICE

HAL HAMLETT, an individual; JESSICA
HAMLETT, an individual; JAIDYN
HAMLETT, a minor; JONATHAN HOLLAND,
a minor; REGIONAL EMERGENCY
MEDICAL SERVICE AUTHORITY;
CHRISTIAN PURGASON, D.O. dba
NORTHERN NEVADA EMERGENCY
PHYSICIANS; TJ ALLEN, LLC; RENOWN
REGIONAL MEDICAL CENTER; RENO
ORTHOPAEDIC CLINIC, LTD., DR.
CHRISTENSEN; RENO RADIOLOGICAL
ASSOCIATES, CHARTERED; ROBERT G.
BERRY, JR., M.D. PROFESSIONAL
CORPORATION dba ORTHOPEDIC
REHABILITATION SPECIALISTS OF NV;
UNIVERSAL SERVICES, INC.; OPERATING
ENGINEERS FUNDS, INC. dba OPERATING
ENGINEERS HEALTH & WELFARE TRUST
FUND; DOE Defendants I through X; ROE
CORPORATION Defendants XI through XX,

Defendant.

 

I certify that I am an employee of JENKINS LAW FIRM and that on this date I deposited
for mailing at Reno, Nevada a true copy of:

1. | NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(a)
(FEDERAL QUESTION) (#1) filed March 15, 2016;

 

 
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2. DEFENDANT NORTHERN NEVADA OPERATING ENGINEERS
HEALTH & WELFARE TRUST FUND’S CERTIFICATE OF
INTERESTED PARTIES [LOCAL RULE 7.1-1] (#5) filed March 15, 2016;

and

3. MINUTES OF THE COURT (#6) filed March 16, 2016;

addressed to:

Regional Emergency Medical Services
Authority

Lisa Cote

450 Edison Way

Reno, NV 89502

Linda Haering, agent for

Christian Purgason

Northern Nevada Emergency Physicians
3700 Barron Way

Reno, NV 89511

TJ Allen, LLC
1475 Terminal Way, Suite A4
Reno, NV 89502

Michell Nobach, Resident Agent
Renown Regional Medical Center
50 W Liberty Street, 11" Fl

Reno, NV 89501

DATED this_@ 7 day of March, 2016.

Juss ny

VICKIE PERRY U

Jan Olivero

Maupin Cox & Legoy
Resident Agent

Reno Orthopaedic Clinc
Dr. Christensen

4785 Caughlin Pkwy
PO Box 30000

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Michele Calkins, PARASEC

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CERTIFICATE OF SERVICE

I certify that I am an employee of JENKINS LAW FIRM and that on this date the within

document entitled CERTIFICATE OF SERVICE was electronically filed with the Clerk of the

Court using the CM/ECF system, which will automatically e-serve the same on the attorney of

record set forth below:

Robert D. Vannah, Esq.,

L. Dipaul Marrero II, Esq.
Golightly & Vannah, PLLC
5555 Kietzke Lane, Suite 150
Reno, NV 89511

and that on this date I deposited for mailing at Reno, Nevada a true copy of the within document

addressed to:

Regional Emergency Medical Services
Authority

Lisa Cote

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Reno, NV 89502

Linda Haering, agent for

Christian Purgason

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3700 Barron Way

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DATED this © 7 day of March, 2016.

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